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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


CENTER FOR BIOLOGICAL DIVERSITY, et al.,

       Plaintiffs,
               v.                                            Case No. 1:21-cv-0119 (RDM)
U.S. ENVIRONMENTAL PROTECTION
AGENCY, et al.

      Defendants.



                  CERTIFIED INDEX TO THE ADMINISTRATIVE RECORD

           I, Robert Barron, am a Program Manager for the U.S. Army Corps of Engineers,

Jacksonville District Regulatory Division. I was the lead author of the Retained Waters List

associated with the State of Florida’s assumption of the Clean Water Act Section 404 permitting

program in Florida. In that capacity, I was responsible for compiling the administrative record

supporting the Retained Waters List. I certify to the best of my knowledge and belief that the

materials listed in the attached index constitute the complete administrative record in support of

the U.S. Army Corps of Engineers’ August 5, 2020, Retained Waters List for purposes of the

State of Florida’s assumption of the Clean Water Act Section 404 program.

           In witness whereof, I have signed this statement on June 27, 2022, at Jacksonville,

Florida.
                                                                          Digitally signed by
                                                BARRON.ROBERT.BR BARRON.ROBERT.BRUCE.JR.1205
                                                UCE.JR.1205237026 237026
                                                                  Date: 2022.06.27 12:49:17 -04'00'

                                                Robert Barron
                                                Program Manager
                                                U.S. Army Corps of Engineers
                                                Jacksonville District
                                                Jacksonville, Florida
